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Aljezeera.com 3/4/2024 (19:50 GMT)

US Muslim groups denounce planned event to sell
occupied Palestinian land

The Council on American-Islamic Relations (CAIR), the US’s largest Muslim civil rights

and advocacy organisation, along with American Muslims for Palestine (AMP), have

called for a federal probe into a planned “real estate” event at a synagogue in Teaneck,
_____ New. Jersey, the US

The event, reportedly organised by “My Home in Israel Real Estate,” a group based in
the occupied West Bank, is set to occur on March 10.

In a statement, CAIR’s Dina Sayedahmed said: “Houses of worship should be sacred
spaces, and it is deeply concerning to see anyone use a house of worship to allegedly
flout international law by selling off stolen land.”

In a statement, AMP’s Chairperson Wassim Kanaan said the groups are mobilising their
communities to protest the planned event.

“We are watching Israel commit genocide in Gaza and pillage Palestinians’ homes in the
West Bank and Jerusalem. These are both stark violations of international law,” the
statement said.

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3/6/2024
47m ago
(17:00 GMT)

‘Freedom of worship outlined in Netanyahu’s speech
is big lie’

Ayman Nobani
Reporting from Nablus, occupied West Bank

We reported earlier that the Israeli prime minister said Israel will allow a
number of worshippers into occupied East Jerusalem’s Al-Aqsa Mosque
compound in the first week of Ramadan. This is similar to policy in previous
years, a statement from Netanyahu’s office said yesterday, without specifying a
number.

According to Israeli affairs researcher Shadi al-Sharafa, there is little freedom
of worship for Palestinians because most are essentially prohibited from
entering Al-Aqsa Mosque.

“This is a result of the closure of the West Bank, in addition to the age
restrictions that previously existed, which prohibit young men from entering
the mosque and only allow men over 50 to enter,” al-Sharafa told Al Jazeera.

Al-Sharafa said that Netanyahu’s decision is “ambiguous, unclear, and not set
in stone, and therefore subject to change, and the proof of that is talk of a
weekly re-evaluation of the decision based on the situation on the ground”.

“The status quo since 1967 is slowly being changed to fit the extreme right-
wing ideology of the Israeli government,” he added.

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Al Jazeera

3/6/2024
(19:35 GMT)

Germany calls on Israel to withdraw occupied
West Bank settlement approvals

Germany has called on the Israeli government to immediately withdraw
the approval of further settlements in the West Bank, saying building
settlements in occupied Palestinian territories was a serious violation of
international law.

Commenting on Israel’s Supreme Planning Authority approving plans
for constructing around 3,500 new housing units in the settlements of
Maale Adumim, Kedar and Efrat, the ministry said: “We strongly
condemn the approval of further settlement units in the West Bank.”

(17:20 GMT)

Hamas condemns new Israeli settlement plans

Hamas says Israel’s announcement of new settlement units in the occupied
West Bank “is a confirmation of the Zionist plan aimed at controlling our land,
restricting our people, and isolating them”.

“We affirm that this false declaration has no legal or legal basis, and is nothing
but a message of defiance and recklessness,” the group said in a statement.

“We call on the United Nations and relevant parties to take punitive steps
against this criminal entity and its Nazi leaders, and we warn against
remaining silent about their violations that increase tension and escalation in
the region,” it added.

We reported earlier that an Israeli settlement-planning authority has pushed

forward permits for 3,500 new illegal settlement housing units in the occupied
West Bank.

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Palestinian foreign ministry condemns Al-Aqsa

Mosque restrictions-

The ministry has criticised Israel for putting in place gates and barriers
to prevent access to the Al-Aqsa Mosque ahead of the first Friday of
Ramadan.

A statement posted on X said the Israeli army had put in place iron gates
at three of the main entrances to the compound “in blatant violation of
international law” and in breach of its obligations as an occupying
power.

The ministry called on the international community to intervene and
defend international laws and provisions.

Israeli police earlier denied setting up new barriers and dismissed the
news as rumours aimed at “raising tensions”. It said maintenance work
was being carried out to replace the security gate.

Jordan says Israel lacks authority to impose

restrictions on Al-Aqsa Mosque
Jordan’s Ministry of Foreign Affairs and Expatriates has issued a statement
condemning the restrictions on entrance to Al-Aqsa Mosque for Muslims

during the holy month of Ramadan, describing it as a “dangerous and
unacceptable act”.

Ministry spokesperson Sufian Qudah said it was imperative to ensure
unhindered entry to worshipers and said Israel holds no sovereignty over

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occupied East Jerusalem and lacks the authority to impose restrictions on
entry to Al-Aqsa Mosque.

The Jordanian monarchy acquired the custodianship over Christian and
Muslim holy sites in Jerusalem in 1924 after the collapse of the Ottoman
Empire, which had ruled over Palestine for centuries. Amman has repeatedly
denounced what it says are violations of rules at the site, Islam’s third holiest.

Hamas calls on Palestinians to ‘defend’ Al-Aqsa
Mosque

Hamas has called on Palestinians to break “the siege” on Al-Aqsa Mosque on
the first Friday of Ramadan, amid the Israeli army’s ongoing restrictions on
entry to the site during the Muslim holy month.

The group called on Palestinians in occupied Jerusalem, the West Bank and
Israel to “participate urgently in defending the Al-Aqsa Mosque against the
Zionist aggression that is taking place at this time”.

The Al-Aqsa Mosque compound that sits atop a hill in the Old City is the third
holiest site in the world for Muslims. The site is also revered by Jews, who
refer to it as the Temple Mount.

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